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              EXHIBIT 8
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Wells, Jerry           PORTIONS HIGHLY CONFIDENTIAL December 15, 2008
                                 Tallahassee, FL

                                                                                Page 1
                UNITED STATES DISTRICT COURT

             FOR THE DISTRICT OF MASSACHUSETTS

    ----------------------------------X

    In Re: PHARMACEUTICAL INDUSTRY    ) MDL No. 1456

    AVERAGE WHOLESALE PRICE LITIGATION) CIVIL ACTION:

    ----------------------------------X 01-CV-12257-PBS

    THIS DOCUMENT RELATES TO:         )

    U.S. ex rel. Ven-A-Care of the    ) Judge Patti B.

    Florida Keys, Inc., v. Abbott     ) Saris

    Laboratories, Inc., No.           )

    06-CV-11337-PBS; U.S. ex rel.     ) Magistrate Judge

    Ven-A-Care of the Florida Keys,   ) Marianne Bowler

    Inc. v. Abbott Laboratories, Inc.,)

    No. 07-CV-11618-PBS; U.S. ex rel. )

    Ven-A-Care of the Florida Keys,   )   DEPOSITION OF

    Inc. v. Dey, Inc., et al., No.    )    JERRY WELLS

    05-11084-PBS; U.S. ex rel.        )

    Ven-A-Care of the Florida Keys,   ) DECMEBER 15, 2008

    Inc., et al. v. Boehringer        )   TALLAHASSEE, FL

    Ingelheim Corp., et al., No.      )

    07-10248-PBS                      )

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Wells, Jerry                   PORTIONS HIGHLY CONFIDENTIAL December 15, 2008
                                        Tallahassee, FL
                                            Page 126                                                  Page 128
 1   had no provision to reimburse them for.            1     BY MR. COOK:
 2             (Exhibit Abbott-Wells 1007 was           2         Q. Okay. So let me retract that.
 3   marked for identification.)                        3             This letter refers to, first, a
 4   BY MR. COOK:                                       4     telephone conversation with Zac Bentley, correct?
 5       Q. Let me hand you, in conjunction with        5         A. That's what the letter says. I don't
 6   the document you are looking at, we will look at   6     recall --
 7   them both at the same time, Exhibit 1007. And      7         Q. And then the --
 8   for the record, Exhibit 1007 is an August 24,      8         A. -- the conversation.
 9   1990 letter from Zachary Bentley at Ven-a-Care to 9          Q. And then in the fourth paragraph, it
10   you. Do you recall this letter?                   10     refers to conversations you had had with Luis,
11       A. I don't recall this letter, but I've       11     who owns a retail pharmacy, right?
12   seen a copy of it before. I don't recall when it  12             MS. WALLACE: Objection to form.
13   came to my office.                                13             THE WITNESS: And I think that was also
14       Q. Does this refresh your memory -- let me    14     a phone conversation or it may have been a face-
15   strike that.                                      15     to-face at a pharmacy meeting somewhere.
16          Am I correct that this letter discusses    16     BY MR. COOK:
17   the square peg/round hole issues that you were    17         Q. I think you probably already answered
18   referring to about certain ancillary costs not    18     this question, but do you recall the conversation
19   being covered by Medicaid for infusion            19     with either Mr. Bentley or Mr. Cobo?
20   pharmacies?                                       20         A. No.
21          MS. ST. PETER-GRIFFITH: Object to the 21              Q. Okay. Do you recall receiving this
22   form.                                             22     letter?
                                            Page 127                                                  Page 129
 1          MS. WALLACE: Objection to form.               1      A. I don't think I got this letter. I
 2          THE WITNESS: This letter addresses            2   think this letter came as I was going out the
 3   some of those issues. If you'll give me a minute     3   door and so I never saw it.
 4   to read the letter, because I think I've been        4      Q. Do you recall infusion pharmacies --
 5   presented this letter before in depositions, but     5   well, let me back up one step.
 6   I've not ever had a chance to read it because I      6          Is it your understanding that Ven-a-
 7   left Medicaid about the time that this letter        7   Care of the Florida Keys was an infusion
 8   came, so I suspect Susan McCleod got this letter.    8   pharmacy?
 9   BY MR. COOK:                                         9      A. Yes.
10       Q. Got it. If you could take your time          10      Q. Do you recall infusion pharmacies in
11   and read it, please.                                11   the 1990 time period coming to you in your
12       A. (Reading document).                          12   position with Florida Medicaid and asking that
13          Okay.                                        13   ancillary supplies and pumps for the
14       Q. This letter describes a meeting that         14   administration of IV medication be added to
15   you had with Luis Cobo and a telephone call that    15   Florida Medicaid benefits?
16   you had with Zac Bennett, correct?                  16      A. I had discussions with a number of
17          MS. ST. PETER-GRIFFITH: Object to the        17   parenteral pharmacy vendors. I don't recall this
18   form.                                               18   specific discussion.
19          MS. WALLACE: Objection to form.              19      Q. What do you recall about those
20          THE WITNESS: I think this letter             20   conversations with home infusion vendors in the
21   describes a phone conversation. I don't think I     21   1990 time period?
22   had met with them.                                  22      A. They were desirous of having infusion
                                                                              33 (Pages 126 to 129)
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